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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


 HENRY BROWN #281484,

           Plaintiff,                     Case No. 1:19−cv−634

    v.                                    Hon. Janet T. Neff

 UNKNOWN SCHULTZ,

           Defendant.
                                    /



                                     ORDER
       The Court has before it Defendant's motion to stay merits discovery
 pending a decision on Defendant's concurrently−filed motion for summary
 judgment based on failure to exhaust. Because a decision on the exhaustion
 motion could obviate the need for further merits discovery, Defendant's
 motion (ECF No. 33) is GRANTED. Merits discovery is therefore stayed
 pending a decision on Defendant's exhaustion motion.

         IT IS SO ORDERED.


 Dated: March 11, 2021                           /s/ Sally J. Berens
                                                SALLY J. BERENS
                                                U.S. Magistrate Judge
